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                         Exhibit F
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    10   Attorneys for Defendant
         FUTUREWEI TECHNOLOGIES, INC.
    11

    12
                                   UNITED STATES DISTRICT COURT
    13
                                NORTHERN DISTRICT OF CALIFORNIA
    14

    15
         YIREN HUANG, an individual, and CNEX           Case No.   5:18-cv-534
    16   Labs, Inc., Delaware corporation,
                                                        DECLARATION OF PAUL C. HASHIM
    17                     Plaintiff,
                                                        IN SUPPORT OF DEFENDANT'S
                                                        NOTICE OF REMOVAL UNDER 28
    18          v.
                                                        U.S.C. §§ 1332(a), 1367, 1441(a) AND
                                                        1446
    19   FUTUREWEI TECHNOLOGIES, INC., a
         Texas corporation; and DOES 1-10, inclusive,
                                                        (Santa Clara Superior Court Case No.
    20
                                                        17CV321153)
                           Defendant.
    21
                                                        Complaint Filed:     Dec. 28, 2017
    22

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                                                             DECLARATION OF PAUL C. HASHIM
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         1                                DECLARATION OF PAUL C. HASHIM
        2     I, Paul C. Hashim, declare as follows:
        3             1.     I am Chief IP Counsel of Futurewei Technologies, Inc. ("Futurewei"). I have
        4     worked for Futurewei for nearly nine years. I have been Chief IP Counsel for Futurewei for the
        5     past five years. The following facts are true of my own personal knowledge, as to which I could
     6        competently testify.
     7               2.      I submit this declaration in support of Futurewei's Notice of Removal.
     8               3.      My responsibilities as Chief IP Counsel include oversight of Futurewei's various
     9        intellectual property (IP) functions, such as oversight of in-house counsel in connection with
    10       support of various Futurewei client research and development business units, evaluation of
    11       external service providers, procedural compliance of internal and external IP law support
    12       functions, personnel training, recruiting of attorneys, agents and paralegals, employee
    13       performance evaluation and compensation, and accountability for assigned activities over which
    14       I have responsibility. I also assist with the development and administration of Futurewei policies
    15       and guidelines, including agreements, procedures, and policies associated with protection of
    16       Futurewei's trade secret and confidential information. I have knowledge of, and am familiar
    17       with, Futurewei's corporate structure and the location of its principal place of business and
    18       corporate headquarters.

    19               4.      Futurewei is incorporated in the State of Texas, with its principal place of
    20       business at 5340 Legacy Drive, Suite 175, Plano, Texas, 75024. In particular, the principal place
    21       of business for the ownership and management of the intellectual property assets at issue in this
    22       dispute is in Plano, Texas. Futurewei is authorized to do business in California.
    23               5.     Futurewei is a subsidiary of Huawei Technologies, Co., Ltd. ("Huawei"), who is a
   24        Chinese corporation with its principal place of business at Huawei Industrial Base, Bantian,
   25        Longgang District, Shenzhen, Guangdong, P.R. China 518129.
   26               6.      Huawei is a multinational networking and telecommunications equipment and
   27        services company that develops, manufactures, and sells a diverse range of products that promot

   28        interconnectivity, including cellular mobile infrastructure equipment (e.g. base stations), routers,
                                                              2
                                                                           DECLARATION OF PAUL C. HASHIM
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     1   switches, security, and data and cloud storage devices. As a subsidiary of Huawei, Futurewei
     2   conducts research into technologies that can be developed by Huawei into next generation
     3   products for the United States and global marketplace.
     4           7.      I understand the Complaint in the present action alleges that "Futurewei (R&D)
     5   USA Headquarters" are located at 2220 Central Expressway, Santa Clara, California 95050. This
     6   is not correct. "Futurewei (R&D) USA Headquarters" is not a legal entity of Futurewei, and has

     7   no organizational relevance within Futurewei. Futurewei's principal place of business is located
     8   in Plano, Texas.

     9           8.      As a Principal Engineer and a leading architect for Futurewei's Solid State Drive
    10   storage group, Yiren Huang ("Huang") directly participated in and assisted in developing
    11   Futurewei and Huawei's Advanced Computing Network ("ACN"), Solid State Drive ("SSD"),
    12   and Non-Volatile Memory Express ("NVMe") related technology, and in developing information

    13   necessary for Futurewei to conduct its business in a competitive market place.
    14           9.      During his employment with Futurewei, Huang was entrusted with and
    15   maintained regular and ongoing access to Futurewei's and Huawei's confidential, proprietary,
    16   and trade secret information, which included, but was not limited to, the research and

    17   development of their ACN, SSD, and NVMe related technology. Futurewei values this

    18   information far in excess of $75,000.

    19           10.     Futurewei has spent sums far exceeding $75,000 and many years developing this

    20   confidential, proprietary, and trade secret information that is so vital to its success.
    21           11.     Futurewei has identified the following patent applications to date that were filed

   22    by Huang after leaving Futurewei (collectively, the "Patent Applications").

   23
          Publication/Patent    Priority                       Publication     Application          Assignee
   24                                          File Date                       Number
          Number                Date                           Date
   25                                                                                               CNEX Labs,
          CN105556930           6/26/2013     6/19/2014        5/4/2016        CN2014842920         Inc.
   26                                                                                               CNEX Labs,
          TW201524170           6/26/2013     6/26/2014        6/16/2015       TW20140122146        Inc.
   27                                                                                               CNEX Labs,
         TWI571087              6/26/2013     6/26/2014        2/11/2017       TW20140122146        Inc.
   28
                                                           3
                                                                             DECLARATION OF PAUL C. HASHIM
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         Publication/Patent    Priority                      Publication     Application
                                            File Date                                         Assignee
         Number                Date                          Date            Number
                                                                                               CNEX Labs,
         US20150006663         6/26/2013    2/26/2014        1/1/2015        US14/1 91335
                                                                                               Inc.
                                                                                              CNEX Labs,
         US20150378605         6/26/2013    9/2/2015         12/31/2015      US14/843884
                                                                                               Inc.
                                                                                              CNEX Labs,
         US20150378606         6/26/2013    9/2/2015         12/31/2015      US14/843891      Inc.
                                                                                              CNEX Labs,
         US20150378640         6/26/2013    9/2/2015         12/31/2015      US14/843892
                                                                                              Inc.
                                                                                              CNEX Labs,
         US20160085718         6/26/2013    11/30/2015       3/24/2016       US14/954691
                                                                                              Inc.
                                                                                              CNEX Labs,
         US20160357698         6/26/2013    8/19/2016        12/8/2016       US15/242299
                                                                                              Inc.
                                                                                              CNEX Labs,
         US9430412             6/26/2013    2/26/2014        8/30/2016       US14/191335
                                                                                              Inc.
                                                                                              CNEX Labs,
         US9785355             6/26/2013    9/2/2015         10/10/2017      US14/843884
                                                                                              Inc.
                                                                                              CNEX Labs,
         US9785356            6/26/2013     9/2/2015         10/10/2017      US14/843891
                                                                                              Inc.
                                                                                              CNEX Labs,
         W02014209764         6/26/2013     6/19/2014        12/31/2014      W02014US43279
                                                                                              Inc.
                                                                                              CNEX Labs,
         US20150019797        7/14/2013     6/25/2014        1/15/2015       US14/315172
                                                                                              Inc.
                                                                                              CNEX Labs,
         US20150019798        7/15/2013     7/11/2014        1/15/2015       US14/329578
                                                                                              Inc.
                                                                                              CNEX Labs,
         US9785545            7/15/2013     7/11/2014        10/10/2017      US14/329578
                                                                                             Inc.
                                                                                             CNEX Labs,
         US20150032956        7/29/2013     7/25/2014        1/29/2015       US14/341260
                                                                                             Inc.
                                                                                             CNEX Labs,
         US20150036432        8/5/2013      8/4/2014         2/5/2015        US14/451176
                                                                                             Inc.
                                                                                             CNEX Labs,
         US9275740            8/5/2013      8/4/2014         3/1/2016        US14/451176
                                                                                             Inc.
                                                                                             CNEX Labs,
         US20150058539        8/22/2013     8/22/2014        2/26/2015      US14/466858
                                                                                             Inc.
                                                                                             CNEX Labs,
         US9292434            8/22/2013     8/22/2014        3/22/2016      US14/466858
                                                                                             Inc.
                                                                                             CNEX Labs,
         US20150248331        12/23/2013    7/11/2014        9/3/2015       US14/328770
                                                                                             Inc.
                                                                                             CNEX Labs,
         CN106104491          3/1/2014      2/26/2015        11/9/2016      CN2015811315
                                                                                             Inc.
                                                                                             CNEX Labs,
         TW201602775          3/1/2014      2/26/2015        1/16/2016      TW20150106251
                                                                                             Inc.
                                                                                             CNEX Labs,
         TWI570549            3/1/2014      2/26/2015        2/11/2017      TW20150106251
                                                                                             Inc.
                                                                                             CNEX Labs,
         W02015134262         3/1/2014     2/26/2015         9/11/2015      W02015US17698
                                                                                             Inc.


              12.      Futurewei believes each of the Patent Applications constitute a Subject Idea or

        Invention under the terms of Huang's Employment Agreement with Futurewei which Huang

                                                         4
                                                                          DECLARATION OF PAUL C. HASHIM
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        1   created using Futurewei's confidential, proprietary, and trade secret information. Futurewei
        2   values these Subject Ideas or Inventions, the patents and patent applications, all of which are
        3   based on Futurewei's confidential, proprietary, and trade secret information, far in excess of
     4      $75,000.
     5               13.     Futurewei's trade secret and confidential information is of great value to
     6      Futurewei and Huawei, and could give any competitor of Futurewei, including Huang's current
     7      employer—CNEX Labs, Inc.—an unfair competitive advantage. Futurewei and Huawei
     8      routinely protect innovations developed by their respective employees by way of patents, where
     9      appropriate. In this regard, Futurewei in the United States — and Huawei globally — have filed
    10      seventeen patent applications arising from three provisional patent applications originated by Mr.
    11      Huang during the course of his employment at Futurewei. Four patents have issued to date from
    12      these applications. Details of these patent filings are listed below:
    13
             U.S. Priority   U.S. Provisional
    14                                          Type          Title                     Publication No.   Patent No.
             Date            Serial No.
                                                               Method and
    15                                          U.S.           Apparatus for Scalable
             Nov. 17, 2011   61/561,160                                                 N/A                N/A
                                                Provisional    Low Latency Solid
    16                                                        State Drive Interface
                                                              Method and
    17                                          U.S. Non-     Apparatus for Scalable
                                                                                        20130132643       9,767,058
                                                Provisional   Low Latency Solid
    18                                                        State Drive Interface
                                                              Method and
    19                                          U.S. Non-     Apparatus for Scalable
                                                                                        20130135816       Pending
                                                Provisional   Low Latency Solid
   20                                                         State Drive Interface
                                                              Method and
   21                                           U.S. Non-     Apparatus for Scalable    20170371825
                                                                                                          Pending
                                                Provisional   Low Latency Solid
   22                                                         State Drive Interface
                                                              Method and
   23                                                         Apparatus for Scalable
                                                PCT                                     W02013071892      Pending
                                                              Low Latency Solid
   24                                                         State Drive Interface
                                                              Method and
   25
                                                China         Apparatus for Scalable
                                                                                        103907088 A       Pending
                                                National      Low Latency Solid
   26
                                                              State Drive Interface
                                                              Method and
   27
                                                European      Apparatus for Scalable
                                                                                        EP2780791         Pending
                                                Regional      Low Latency Solid
   28
                                                              State Drive Interface


                                                                                 DECLARATION OF PAUL C. HASHIM
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        1                                                     Method and
                                               U.S.
              Aug. 12, 2011    61/523,251                     Apparatus for Flexible   N/A            N/A
                                               Provisional
        2                                                     RAID in SSD
                                                              Method and
                                              U.S. Non-
        3                                                     Apparatus for Flexible   20130042053    9,424,128
                                              Provisional
                                                              RAID in SSD
        4                                                     Method and
                                              U.S. Non-
                                                              Apparatus for Flexible   20160320991    Pending
        5                                     Provisional
                                                              RAID in SSD
                                                              Method and
     6                                        PCT            Apparatus for Flexible    W02013023564   Pending
                                                              RAID in SSD
     7                                                       Method and
                                              China                                                   2012
                                                             Apparatus for Flexible    103718162 A
     8                                        National                                                80038141.1
                                                             RAID in SSD
                                                             Method and
     9                                        European
                                                             Apparatus for Flexible    EP2732373      Pending
                                              Regional
                                                             RAID in SSD
    10                                                       Method and
                                              U.S.
             July 20, 2011    61/509,930                     Apparatus for SSD         N/A            N/A
    11                                        Provisional
                                                             Storage Access
                                                             Method and
    12                                        U.S. Non-
                                                             Apparatus for SSD         20130024599    Pending
                                              Provisional
                                                             Storage Access
    13                                                       Method and
                                              PCT            Apparatus for SSD         W02013012901   Pending
    14                                                       Storage Access
                                                             Method and
    15                                        China
                                                             Apparatus for SSD         103703450 A
                                                                                                      2012
                                              National                                                80035706.0
                                                             Storage Access
    16
            Each of the foregoing U.S. patent applications was originated and prosecuted by the law firm of
    17
            Slater and Matsil, located in Dallas, Texas, based upon numerous telephonic and email
    18
            exchanges between Mr. Huang and Slater and Matsil personnel in Texas.
    19
                   14.        To date, Futurewei has obtained, but has not been served with process of,
    20
            Plaintiffs' Complaint in the above-referenced matter. A true and correct copy of the Complaint
   21
            and all other process, pleadings, and orders are collectively attached to Futurewei's Notice of
   22
            Removal as Exhibit A.
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                                                                                DECLARATION OF PAUL C. HASHIM
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     1          I declare under penalty of perjury under the laws of the United States of America that the

     2   foregoing is true and correct and was executed this al-7 day of January 2018, at Plano, Texas.

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     5                                                              Paul C. Hashim
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                                                                    DECLARATION OF PAUL C. HASHIM
